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UNITED STATES DISTRICT couRT May 51 2014 9;46 AM

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FOR THE wESTERN DISTRICT oF MICHIGAN U".§_EJSCTORF:§TESC“@CL)L§R M
WESTERN D|STR|CT OF l
SOU'I'HERN DIVISION ,¢§

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lefendanc:.

PLAINTIFF'S MUTION FOR APPOINTMENT OF COUNSEL

 

NOW CDMES, Linlntiff: Lamch Ieaz', .i]liam chnFon, lamerc HOF?: 5 Anthuv§
E¢lion, in JIC FQr fefpecthllY 'cv§ twi? COvEt LO grant ;hi§ JOLi;n for

a_»@intm@nt CE Ccuniel in _h: the acove entitled cal=e, cna etatll tdc icllowinq.

1. ;n £u:il Ll, 2114 ;hi: chor&dle Court qr:nt€c KW;&ndEnLF ioti»n .c iakz

reDcEi;ijw OL pleintjtf§ (ccck&; nc. 65). ieca'»§ Of tnis agp€lft cf ciuhn$l lt
n¢ces:ary 13 to ;;w:¢z;nt the ,e;t intereg: if the Fl¢intii:j §uring the m:oceedinq

2. Thec :h£ legal l'a:t;ry arguef in the ¥lain:iif: Cowplaint ana .dppc:zinn
blen¢ing¢, ace §§ n complex legal ~ni L&Ctu;l natur§.
3. lhet _h; C;mpl-xity cf _h¢¢e "&Et¢ri involve the lmtcrmre:aiion -i analy;id

PHEFL¢HC tc lederal ?rle; of £vifence, ;JE Unit&d ft¢te; Ccnatiiutjona, and QQLQ;L

amon@e: Jnith itatc: iwlreme Court Ju=tlc: f the Fe£cral Comrt'a reqarFing mattwr;

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that axceede the olaintiffe aoilitiea tc argue the nattere effect'vely warrants the

appointment of counsel.

4. That these plaintiffs are indigent and evidence of thia, theme Plaintiffe wee
rented Forma Pauperis. iheae Plaintiffe are unable to day for retained Counsel,
who is qvalifi_e and experienced -: purening the complex nature of the;a

Conetitutional violations that gave rise no this action.
CASE LAW:

a prison ia indigent if ne ie "financially enable l_c obtain adequate
tecreeentation". 18 U.S.C. § BOGGA(a} 1994).

The rern» 'indigent' ia a functional concept focueing on the -_etiticner'e
inability to day :he neceasary fees an ;o.te, witnoft giving up tee neca;:itiee ii
lite or the ;mall amenitiet available to :en and women in orieon.

Due to these plaintiffs possessing only the limited funde_ that his family
xrovidea them lot ourchaaing of hygiene ordducte, legal nate:iale.

lt omit be noteo, that the atandard di indigence {for accointment of counec
un;e: 18 U.S.C. § 3006A(a)(2)(B] 2000] are lead etrict then thoae Legarding
eligibility tc rroeecu;e a ?etition `In Foraa Pauneria", and thus many who cannot
gualii§ to proceed under 28 U.S.C. § 1915 eill de antitlai ;o the benefits of
Counael uneet 18 U.S.C. § 3006A(g) [recodified de 18 U.S.C. § 3006A(a)(2)(B) 1994].
(Se; aleo; McFarland v Scott, 512 U.S. 849 (1994).

In conformity with these expre:iione of Congre§eional intent, the Court:
generally have endorsed the Appointwent of Conneel to reoreeent indigent and legally

onaophieticate! prisoners in "caaee that turn on eu;atantial and complex orocedural,

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l gal cr mixed legal and factual guestion:". Hughes v Joliet Correctional Center,
931 F.ZG 425, 429 (7th Cir. 1991): Hodge v police officers, 802 F.Zd 58, 61 (2nd
Cir. 1986) (conplexity of i-aces); Weygandt v Look, 718 F.ZG 952, 954 (9th Cir.
1983): Abduc v Lane, 468 F.Supp 33¢ 37 (E.D. Tenn) aff'd 588 F.ZG 1178 (6th Cir.
1978).
accordingly, Counael has been appointed where "factual complex casec. e.g., ones
involvino“ conflicting testinony " in which the truth i acre likely to " be extoaed
where 90th aides are represented ny those trained in the treaentation evidence.
Plaintiffa contende, that in light of the above argued facts that they are
entitled to the Apoointment of Cotnsel, so that :heir Constitutional arouments can

he advanced and thei: Conetitutional rights creeerved.

PRAYER HUR RELIEF

WHEREFORE/ Plaintiffs Lamont teart, tillian Jonnaon, Jamero Hose:- a Anthony
nelaon; respectfully ask that this Honoratle Court grant this action and they oa
appointed Cocntel, who is {ualified to meet the adversarial test deployed by the
Defendants, and orofeaaionally oreaent the complex nature of the arguments conveyed

in their Pleadings.

Resoectfully Suomittad»

 

Lamont Hea:d

 

william Johnson
/Jamero Noaee

An;hony §elaon

 

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